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MITIKAH – TORRE M
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MITIKAH – TORRE M
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MITIKAH – CONDO TOWER
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MITIKAH – RETAIL AREA
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MITIKAH – MEDICAL TOWER
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                  MITIKAH STATUS




      FUNO                                                                                       Stabilized
                      CAPEX                                                                                     YOC
   Investment                                                                                       NOI


2.4 Billion MXP   20 Billion MXP                                                              2.0 Billion MXP   51.6%
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                 HOW WE ACHIEVE IT




Acquisitions   Development                                             Re-development                           JV’s
                                                                                                               Largest
  More than      More than
                                                                                            14 Properties   Construction in
 6.8 mm sqm     1.2 mm sqm
                                                                                                                Latam
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MANAGEMENT PLATFORM
by Ignacio Tortoriello   VP of Administration & IT
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             MANAGEMENT PLATFORM

TECHNOLOGY        PROCESSES                                                           PEOPLE
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                           MANAGEMENT BY EXCEPTION



✓ Standardized processes
✓ Processes automation
✓ Scorecards
✓ Operation manuals
✓ Sustainability focus
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                        FUNO’S ECOSYSTEM


                   Service    Diligent                         Qlikview
                    Tonic                                                                                        Integrity

      Salesforce                                                                                                               Argus


Infosat                                                                                                                                GIM



 TekRecovery                                                                                                                        Open HR
                                                                                                                                    Thomas

           Reachcore                                                                                                         ABAX
                         Acronis         Liferay                                                             Bizagi
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                        FUNO’S ECOSYSTEM
                                   DRP / BCP

                   Service    Diligent                         Qlikview
                    Tonic                                                                                        Integrity

      Salesforce                                                                                                               Argus


Infosat                                                                                                                                GIM



 TekRecovery                                                                                                                        Open HR
                                                                                                                                    Thomas

           Reachcore                                                                                                         ABAX
                         Acronis         Liferay                                                             Bizagi
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                                 REVENUE ASSURANCE


                                                                                                                                • Increases
  ACQUISITIONS          INTEGRATION
                                                                                                                                • Variable income
                                                                                                                                • Expense recoveries
                                                      LEASES                                                INVOICING
                                                                                                                                • Credit notes



     NEW LEASES OR RENEWALS                                              COLLECTION




            • Institutional Reporting                                                                                   ~1M annual operations
            • Committees
INFORMATION • Audits                                                                                                    +550 properties
            • Finance
            • Accounting                                                                                                +1B USD annual billing
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                                        PAYMENT PROCESS


      BUDGET              PURCHASE REQUEST            PRODUCT OR                                                         SUPPLIER´S WEBSITE            PAYMENTS
                                                   SERVICE RECEPTION




                          • Request generated by                                                                                                      • Payments are
                             property managers                                                                           • Each supplier need to     processed by the
 • Performed during
                              and/or end users      • Property managers                                                   upload its invoice and          system
the last quarter of the                            and/or end users need                                                 link it to their purchase
                            • Comparative of at          to upload a                                                                order              • Automatic
    previous year
                              least 3 different     proof/evidence of the                                                                              accounting
• At a property level.
                           suppliers is required       reception of the                                                       • Delegated
                                                      product or service                                                 Authorization Matrix of     • Files for bank
                          • Standard and planned                                                                                5 levels               transfers are
                              purchase orders                                                                                                            generated
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                  STANDARDIZED INFORMATION

Facts Sheet

Billings YTD
# of properties
# Leases
GLA
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                         PROCESS AUTOMATION


    Purchase
                      Terminology      Payment requirement                                                      Down payment    Billing stoppage
   Requisition




Budget extension                                                                                                               Bank Reconciliation




Billing’s extension                                                                                                              Manual Billing




Urgent payments       Intercompany      Human Resources                                                         Other income      Sustainability



            14 Macro Processes       27 Subprocesses                                                           11 Under development
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PROCESS AUTOMATION




                                                         Cambiar imagien
